
Green, J.
delivered the opinion of the court.
This is an attachment bill, seeking to subject certain slaves to the satisfaction of a decree pronounced in Virginia in favor of the complainant against Elizabeth D. Jones, administratrix of William Jones, deceased, and which property is now in the hands of the defendant, as the administrator of the said Elizabeth, who has died.
The facts are shortly these. William Jones (the husband of said Elizabeth) was administrator of three several estates in Mecklenburg county, Virginia, of each of which the complainant and others were distributees. In the life time of the said William, the complainant and others filed their bill against said administrator for an account and distribution. Pending the bill, William Jones, the administrator, died, and his widow, the said Elizabeth D., administered on his estate, and the suit was revived against her. Before any decree was pronounced, she distributed her intestate’s estate, and removed herself to Tennessee with a portion of the negroes, which had been of the estate of her intestate. Subsequently said suit in chancery was heard, and the parties obtained decrees severally according to their rights, — the complainant obtaining a decree for about the sum of four thousand dollars, — to be levied of the goods of said William, in the hands of said Elizabeth to be administered. The complainant then brought his suit, on the administration bond given by the said Elizabeth and her sureties, for a devastavit, and proved assets in her hands to the amount of about three thousand dollars, for which sum he had judgment against the" sureties, which judgment has been satisfied.
This bill is now filed, alledging that the negrpes attached are of the estate of the said William Jones, and held by the defendant in trust for the creditors of said William; that the complainant’s decree is unsatisfied; and that other assets *707should have come to the hands of said Elizabeth, as adminis-tratrix aforesaid, which she failed to collect, by reason of negligence, of which assets there was no proof before the jury, in the suit on the administration bond, in Virginia. Upon the facts of this case, there is no ground for equitable relief in favor of the complainant. The suit in Virginia, on the administration bond, put in issue, the question of the amount of assets in the hands of the administratrix of William Jones, and the verdict and judgment in that case, are conclusive upon the parties, unless assets were concealed by fraud.
But it is said the administratrix was not a party — that her sureties only were sued.
That can make no difference, — the same matter was in issue, — and the complainant has had the benefit of a satisfaction to the extent of the assets. He has no right to ask for,more.
But the present defendant, who is administrator of E. D. Jones, does not represent the estate of William Jones. The complainant, if he has any remedy should have proceeded against the administrator de bonis non of William Jones.
Affirm the decree.
